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    7
                            IN THE UNITED STATES DISTRICT COURT
    8
                            IN THE EASTERN DISTRICT OF TENNESEE
    9
   10    State of Tennessee, et al.,
   11                                                        No: 3:21-cv-00308-CEA-DCP
                                            Plaintiff,
   12    v.                                              PLAINTIFF STATE OF ARIZONA’S
   13                                                      MOTION TO DROP STATE OF
         United States Department of Education, et            ARIZONA AS A PARTY
   14    al.,                                             (UNOPPOSED BY DEFENDANTS)
   15
                                         Defendants.
   16
   17
               Pursuant to Fed. R. Civ. P. 21 (“Rule 21”), the State of Arizona hereby moves this
   18
        Court to drop it as a party from this action.
   19
        A.     The motion is meritorious.
   20
               The State of Arizona no longer wishes to continue litigating the above-captioned
   21
        matter or any appeal arising from it.
   22
               This Court has previously expressed that Rule 21 is the appropriate vehicle for such
   23
        a motion, and that Rule 21 is “governed under a liberal standard.” Cosby v. KPMG, LLP,
   24
        No. 3:16-CV-121-TAV-DCP, 2020 WL 3529659, at *3 (E.D. Tenn. June 29, 2020) (citing
   25
   26   Thorn v. Bob Evans Farms, LLC, No. 2:12-CV-768, 2013 WL 2456336, at *2 (S.D. Ohio

   27   June 6, 2013)).

   28          Defendants do not oppose this motion.




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    1   B.     The opposition of other plaintiff states is unpersuasive.
    2          The other plaintiff states have stated through counsel that they “would oppose the
    3   district court granting [this] Motion while the Sixth Circuit has jurisdiction over the
    4   preliminary injunction appeal and would encourage the district court to defer its ruling until
    5   a more appropriate juncture.” This objection is unpersuasive for four reasons.
    6          First, it is not up to other plaintiff states to decide whether Arizona can drop itself
    7   from this action. That is for Arizona to decide, as long as Defendants consent. A related
    8
        rule makes this clear. Under Rule 15, a party may amend its pleading “with the opposing
    9
        party’s written consent.” Fed. R. Civ. P. 15(a)(2) (emphasis added); see also Cosby, 2020
   10
        WL 3529659, at *3 (stating that Rule 15, like Rule 21, is “governed under a liberal
   11
        standard”). The consent of co-plaintiffs is not needed.
   12
               Second, while it is true that this Court’s preliminary injunction is on appeal, that
   13
        “does not divest the district court of jurisdiction to proceed with the action on the merits.”
   14
        Zundel v. Holder, 687 F.3d 271, 282 (6th Cir. 2012) (quoting Moltan Co. v. Eagle-Picher
   15
        Indus., Inc., 55 F.3d 1171, 1174 (6th Cir. 1995)). Because this Court retains jurisdiction
   16
        to proceed on the merits, this Court also retains jurisdiction to do something as simple as
   17
        grant a plaintiff’s request to drop itself.1
   18
   19          Third, no prejudice would result from dropping Arizona as a party. Arizona does

   20   not seek to disrupt claims of other states. And there are nineteen other plaintiff states, so

   21   Arizona’s continued participation is not necessary.

   22          Fourth, in contrast, prejudice will result from keeping Arizona in this action.

   23   Contrary to Arizona’s desires, Arizona remains publicly listed as a plaintiff in this Court—
   24   and, by extension, an appellee in the Sixth Circuit. Because of this, Arizona is continuing
   25
   26   1
         This Court previously granted an unopposed motion to stay proceedings pending appeal.
        (Dkt. 111.) But that stay was not intended to prevent the Court from taking any action.
   27
        Indeed, the Court has taken action since then such as granting withdrawal of counsel for
   28   Missouri. (Dkt. 125.) If necessary, however, Arizona asks the Court to lift the stay to the
        extent needed to drop itself as a party.

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    1   to devote resources to this matter against its wishes, including monitoring this Court’s
    2   docket and the Sixth Circuit docket in which oral argument has been set for April 26.
    3         In sum, Arizona seeks to withdraw and drop itself from this action; Defendants do
    4   not oppose this request; and no good reason supports opposition.
    5
    6         RESPECTFULLY SUBMITTED this 27th day of March, 2023.
    7
    8                                            BERGIN, FRAKES, SMALLEY &
    9                                            OBERHOLTZER, PLLC
   10                                            By: /s/ Anthony R. Napolitano
   11                                            Anthony R. Napolitano
                                                 4343 E. Camelback Road, Suite 210
   12                                            Phoenix, Arizona 85018
                                                 Attorney for Plaintiff State of Arizona
   13
   14
   15                              CERTIFICATE OF SERVICE
   16
              On this 27th day of March, 2023, the foregoing was filed with the Eastern District
   17   of Tennessee’s Court Clerk’s Office using the CM/ECF System for filing, which will
   18   provide a Notice of Electronic Filing to all CM/ECF registrants.
   19   By: /s/ Shelly Curry
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